                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan
226 West Second Street
Flint, MI 48502


In Re: Laura Lynne Lucas
Debtor
                                                            Case No.: 19−30218−dof
                                                            Chapter 7
                                                            Judge: Daniel S. Opperman.Flint
Tracy B. Sutton
Plaintiff                                                   Adv. Proc. No. 19−03039−dof

v.

Laura Lynne Lucas
Defendant



        NOTICE OF INITIAL SCHEDULING CONFERENCE IN AN ADVERSARY PROCEEDING


NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Bankr. P. 7016 and Fed.R. Civ. P. 16, an initial scheduling
conference in an adversary proceeding will be conducted in U.S. Bankruptcy Court Courtroom, 226 West Second
St., Flint, MI 48502 on 6/26/19 at 01:30 PM following which a scheduling order will be issued.

All parties and their counsel are reminded that incident thereto, and, by reason of amendments to the Federal Rules of
Civil Procedure effective December 1, 2000:

        (a) they must comply with Fed. R. Bankr. P. 7026, incorporating Fed. R. Civ. P. 26(f), At a
        minimum, the parties must (1) confer and discuss the required subjects, and, (2) file with the Court,
        no later than 5 days before the conference, a written report regarding all the subjects listed in the
        Rule 26(f) report form available on the Court's web site (http://www.mieb.uscourts.gov/) under
        "Local Forms" (the form is entitled "Report of Parties Rule 26(f) Conference.")

        and

        (b) they must comply with Fed. R. Bankr. P. 7026, incorporating Fed. R. Civ. P. 26(a)(1), requiring
        specified initial disclosures to be served within 14 days after the Rule 26(f) conference (unless the
        parties waive the requirement in whole or in part, or extend the due date; note that any such waiver or
        extension should be included in the required 26(f) report)

        NOTE: IF A FULLY COMPLETED REPORT OF PARTIES' 26(F) CONFERENCE IS
        ACTUALLY RECEIVED BY THE COURT ONE WEEK PRIOR TO THE SCHEDULED
        CONFERENCE, AND THE COURT DOES NOT INDICATE OTHERWISE, THE
        CONFERENCE WILL NOT TAKE PLACE AND THE COURT WILL AUTOMATICALLY
        ISSUE AN APPROPRIATE ADVERSARY PROCEEDING SCHEDULING ORDER BASED
        UPON THE SUBMITTED 26(F) REPORT



        Dated: 5/23/19

                                                            Katherine B. Gullo , Clerk of Court
                                                            UNITED STATES BANKRUPTCY COURT




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